            Case 1:21-cr-00032-DLF Document 105-1 Filed 02/17/22 Page 1 of 2



  DECLARATION OF JASON JOLLY, STAFF ASSISTANT, UNITED STATES SECRET

                                              SERVICE

       1.       My name is Jason Jolly. I have worked as a Special Agent for the US Secret Service

since 1999. During that time, I have held numerous positions supporting the agency’s investigative

and protective missions, including several years on full-time protective details. I am currently

assigned as a Staff Assistant to the Secret Service’s Liaison Division at the U.S. Capitol. In that

role, I work with U.S. Capitol personnel to facilitate the visits of Secret Service protectees to

Capitol Hill.

       2.       On January 6, 2021, I was assigned to provide protection for Vice President Elect

Kamala Harris for her visit to the United States Capitol for the Joint Session of Congress to certify

the results of the Electoral College vote.

       3.       On the morning of January 6, 2021, before the commencement of the Joint Session

of Congress, Vice President Elect Harris was present at the United States Capitol. She left the

Capitol later that morning. Vice President Elect Harris was planning to return to the U.S. Capitol

Building on the afternoon of January 6, 2021, for the Joint Session of Congress; however, her travel

to the Capitol was delayed when the Joint Session was interrupted by the riot.

       4.       At approximately 7 p.m., on January 6, 2021, Vice President Elect Harris travelled to

the U.S. Capitol where she participated in the Joint Session of Congress to certify the results of the

Electoral College vote.
         Case 1:21-cr-00032-DLF Document 105-1 Filed 02/17/22 Page 2 of 2



       Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true

and correct.

       Executed on November 4, 2021, in Washington, D.C.



                                                     _____________________________
                                                     JASON JOLLY
                                                     Staff Assistant
                                                     U.S. Secret Service




                                                 2
